JS44       (Rev.o6lr7)                                                            cIV[            COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as
providedbylocal rulesofcourt. Thisform,approvedbytheJudicial ConferenceoftheUnitedStatesinSeptemberl9T4,isrequiredfortheuseoftheClerkofCourttbrthe
irurpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM )

I. (a) PLAINTIFFS                                                                                                               DEFENDANTS
Vernon D. Allen (see Attachment A for all named Plaintiffs)                                                                   Jacobs Engineering Group, lnc.; Rogers Group lnvestments, lnc.;
                                                                                                                              EnSafe Engineering Services, and Ensafe lnc.
     (b)     County of Residence of First Listed         Plaintiff Unknown                                                     County of Residence of First Listed Defendant Los Angeles County, CA
                                   (EXCDPT IN U.S. PLAINTIFF CASES)                                                                                     (IN U,S, PLAINTIFF CASES ONLY)
                                                                                                                                NOTE: lN LAND      CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.


             Attomeys (Firm   Nome, Address, and Telephone Number)                                                              Attomeys (lf Known)
J".[i] B. Dupree                                                                                                              James F. Sanders (Jacobs Counsel; see also Attachment B)
Market Street Law, PLLC                                                                                                       Neal & Harwell, PLC
625 Market Street, 14th Floor, Knoxville TN 37902 (865) 245-4438                                                              1201 Demonbreun, Suite 1000, Nashville, TN 37203 (615)244-1713

II.    BASIS O[' JURISDICTION eu""on "x"                               inone Boxonty)                              CITIZENSHIP OF PRINCIPAL PARTIES                                             fso ce an "x" in one Boxfot Ptaintiff
                                                                                                                                   Only)
                                                                                                                            (For Diversity Carcs              and One Boxfor Defendant)
D I U.S.Govement                       il3       FederalQuestion                                                                      PTF DE['                              PTF DEF
      Plaintiff                                    (U.5. Govemment Not o Pafiy)                                  CitizenofThisState Ol    n I IncorporatedorPrincipalPlace A4 tr4
                                                                                                                                                                               ofBusiness ln This State

n2         U.S. Govement               D    4    Diversity                                                       CitizenofAnotherState E 2                        tr 2       IncorporatedandPrincipalPlare              D5      05
             Defendmt                              (lndicate Citizenship ofParties in hem       III)                                                                            ofBusiness ln Another State

                                                                                                                 Citizen or Subject ofa                 D3        0 3       ForeignNation                               J6      D6

IV. NATURE                OF SUIT               an "X" in One Box                                                                                                  Click here for:

D    ll0Insuance                           PERSONAL INJURY                                                                         Related Seirue           D   422 Appeal 28 USC 158            D    3?5 False Claims Act
D    120 Mrine                        D    310 Airplme                     D    365 Personal Injury -                         ofProperty 2l USC 881         O   423 Withdrawal                   tl   376 Qui  Tm (31 USC
D    130 Miller Act                   0    315 Airplroe Product                     Product Liability                  690 Other                                    28 USC 157                            3729(^))
D    140   Negotiable Instrument                Liability                  D    367 Health Care/                                                                                                 D    400 State Reapportionment
f,   150 Recovery of Overpayment      il   320 Assault, Libel   &                   Phmaceutical                                                                                                 D    410 Antitrust
           & Enforcement of                     Slmder                              Personal Injury                                                         O   820 Copyrights                   D    430 Banks md Bmking
D l5l Medicare Act                    D    330 Federal Employers'                   Product Liability                                                       0   830 Patent                       D    450 Comerce
D I 52 Recovery of Defaulted                    Liability                  0    368 Asbestos Personal                                                       0   835 Patent - Abbreviated         D    460 Deportation
           Student Loms               O    340 Muine                                Injury Prcduot                                                                    Now Drug Application       D    470 Racketeer Influenced md
         (Excludes Veterms)           0    345 Muine Product                        Liability                                                                                                               Compt Orgmiations
0    153 Recovery of Overpayment                Liability                       PERSONAL PROPERTY                                                                                                D    480 Consmer Credit
         of Vetcrm's Benefits         D    350 Motor Vehicle               O    370 OtherFraud                         710 Fair Labor Stmdilds                  861 HrA (r395f0                  D    490 Cable/Sat TV
D    160 Stockholders' Suits          D    355 Motor Vehicle               O    371 Truth in Lending                          Act                           O   862 Black Lmg (923)              O    850 Secuities/ComoditieV
D    l90OtherConilact                          Product Liability           0    3S0OtherPersonal                       720 Labor/lr4magement                n   863 DIwC,/Dlww (ao5(g))                     Exohmge
0    195 Contract Product Liability   X    360 other Personal                       Property Dmage                         Relations                        D   864 SSID Title XVI               D    890   Other Statutory Actions
O    196 Franchise                              lnjury                     0    385 PropertyDamage                     740 Railway Labor Aot                D   86s RSI (40s(g))                 D    891   Agricultural Acts
                                      O    362 Personal Injury -                    Product Liability                  751   FmilymdMedical                                                      D    893   Enviromental Matters
                                                                                                                              Leave Act                                                          D    895   Freedom of Infomation
                                                                                                                       790 Othsr Labor Litigation          ffiffirewnfl                                     Act
O    210 Lmd Condemation              O    440 Other Civil Rights               Habeas Corpus:                         79   I Employee Retirement           O   870   Tues (U.S. Plaintiff       fl   895 Arbitration
D    220 Foreclosure                  D 441Voting                          O    463 Alien Detainee                            Income Secuity Act                      or Defendmt)               O    899 Administrative Procedue
D    230 Rent Lease & Ejectment       O 442 Employment                     fl   510 Motions to Vacate                                                       O   871 IRS-ThirdParty                        Act/Review orAppeal      of
D    240 Torts to Lmd                 0    443 Housing/                             Sentence                                                                        26 USC 7609                           Agency Decision
D    245 TortProduct Liability                  Accomodations              D    530 General                                                                                                      O    950 Constitutionality of
O    290 All Other Real Property      D    445 Amer. w/Disabilities -      D    535 Death Penalty                                                                                                           State Statutes
                                               Employmcnt                       Other:
                                      E    446 Amer. wlDisabilities -      0    540 Mmdamus     & Other          O     465 Other    Imigration
                                                C)ther                     D 550 Civil Rights                                Actions
                                      D    448 Education                   D 555 Prison Condition
                                                                           D 560CivilDetainee-
                                                                                    Conditions of
                                                                                    Confinement

V. ORIGIN (Place an "X" in one BoxOnly)
D I Original    [2 Removed from                                O 3        Remanded from                 ll 4     Reinstated         or D       5   Transferred liom         O6       Multidistrict            O 8 Multidistrict
    Proceeding State Court                                                Appellate Court                        Reopened                          Another District                  Litigation -                   Litigation -
                                                                                                                                                                                     Transfer                       Direct File
                                                   the U.S.   Civil Statute under which you             are   filing   (Do not cite    jurisdiction(l statates unless diversity)'.

VI.        CAUSE OF'ACTION                          description ofcause:
                                             Tort                                                                      re
VII.       REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                                      DEMAND$                                           CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                                               JURYDEMAND: X Yes                              DNO

vlrr. RELATED CASE(S)                           (See   inslmclions):
            IF'ANY                                                         JUDGE Thomas Varlan / Magistrate                                Guvton               DocKETNUMBER 3:13-cv-00505
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
04t16t2018                                                                      /s/ James F. Sanders
!(.rR (,l.ttuE lrstr t NLY

     RECEIPT #                     AMOUNT                                          APPLYING IFP                                               JUDGE                                  MAG. JUDGE
JS   44 Reverse (Rev. 06/17)


                       INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORIVI JS 44
                                                                     Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service ofpleading or other papers as
required by law, except as provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States in September 1974,is
required for the use oi the elerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk      of
Court for each civil complaint filed. The attomey filing a case should complete the form as follows:

I.(a)      plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiffand defendant. If the plaintiff or defendant is a govemment agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a govemment agency, identifr first the agency and
           then the officiat, giving both name and title'
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time oifiling. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county ofresidence ofthe "defendant" is the location ofthe hact ofland involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attomey ofrecord. Ifthere are several attomeys, list them on an attachment, noting
           in this section "(see attachment)",

il.        Jurisdiction. The basis ofjurisdiction is   set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
           United States plaintiff. (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           biversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship ofthe different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

ilI.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed        if diversity of citizenship was indicated above. Mark this
           section for each principal party.

tV,        Nature of Suit. place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: @.

V.         Origin.    Place an   "X" in one of the seven boxes.
           Original Proceedings.      (l)Cases which originate in the United States district courts.
           Removed liom                                                                                                   Title 28 U.S.C., Section 1441.
                               State Court. (2) Proceedings initiateci in state courts may be removed to the district courts under
           When the petition for removal is granted, check this box.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date'
           Transferred from Another Dishict. (5) For cases transferred under Title 28 U.S.C. Section M04(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket'
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statue.

VI.        Cause     ofAction,Report the civil statute directly related to the cause ofaction and give a briefdescription ofthe cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VIL        Requested iri Complaint, Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIU.       Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases'

Date and Attorney Signature. Date and sign the civil cover sheet'
                       CIVI   COVER SHEET ATTACHMENT A
                          LIST OF ALL NAMED PLAINTIX 'S


Vernon D. Allen
Sandra   Allen
Cindy Baker
George Baldwin
Garry Beason
Karen Beason
Paul Bennett, Jr.
Douglas Bledsoe
Johnnie Bledsoe
Katie Botts
Sheni Botts
Michael Bowlin
Terrance Brashears
Bradley Brown
Jennifer Brown
Corey Buchannon
Jackie Bunch
Steven Bunkley
Kathleen Bunkley
Christopher Burbage
Laura Burbage
Brian Burchfield
Amy Burchfield
Michael Burum
Brian Carroll,
Vincent Chesser
Jamie Chesser
Gary Cole
Juanota Cole
Michael Colyer
Lena and David Copeland for the Estate of Leonard Copeland, Deceased
Lena and David Copeland for the Estate of Judy Copeland, Deceased
Lany Cordell
Jackie Cordell
Jerry Coxey
Cindy Coxey
Richard Crane
Amanda Crumby for the Estate of Paul Smith, Deceased
HaroldDavis, Jr.
Vickie Davis
Wilbert Davis
Kimberleigh Dishman
John Dishman
Donald Dixson
Toni Lynnette Dixon
David Dugger
Valerie Dugger
Kevin Duncan
Tamra Duncan
Stormy Dunn
Daryl Fink, Sr.
Karen Fink
Daniel Forrester
Jawanna Forrester
Clayton Foust
Pam Foust
JackFozzard
James Freels
Ashley Freels
Bobby Gann
Angela Gann
Sara Gardner
Ricky Gardner
James   Gilliam
Karen Gilliam
Danny Gouge
Bradford Green
Ginger Green
Roger Griffith
Julice Griffith
Johnny Hall
Billie Jo Hall
Bobby Haire
Celena Haire
Glen Haney, Jr.
Diana Haney
Mark Henderson
Brandy Henderson
Charles Huckaby, Jr.
Brenda Huckaby
John Jennings
Mark Johnson
Tammy Johnson
Tommy Johnson
Betty Johnson
Amy Jones
Michael Justice
Charles Keel, Jr.


                       2
Kimberly Keel
Melvin Kidd
Regina Kidd
Stevie Kilby
Melissa Kilby
Kevin Kile
Julia Kile
Wesley Roman Lawson
Michael Laymance
Denise Laymance
Rusty Laymance
Frank Lee
Paula Lee
William Lee
Diane Lee
Elmer Lowe
Sean May
Sylvia May
Conley Mark Mack
George McAllister
Suzie McAllister
S.T. McCollum
Kathy McCollum
Dale McGill
Donna McGill
David Millsaps
Loretta Millsaps
James Monroe
Sarah Monroe
Roger Moore
Linda Moore
Ryan Mulloy
Steve Pettyjohn
Pamela Petty john
Daniel Pressley
James Price
Ruby Price
Timothy Ricker
Jones Risner
David Ray
Michael Robinette
James Rogers
Carol Rogers
Vincent Romasco
Donna Romasco
Ernestine Sargent

                      a
                      J
Greg Schwartz
Trieu Schwartz
John Sexton
Doretta Sexton
Kevin Seeber
Kristy Seeber
Robert Shubert, III
Dennis Smith
Mary Stephanie Smith
Anthony Spradlin
Lisa Spradlin
Horace B. Stair
Russell Stansberry
Timothy Steele
Shannon Steele
William Stephens
Linda Stephens
James Styles, Jr.
Crystal Styles
John Suter
Abby Suter
Tommy Swicegood
Jannie'Swicegood
David Thompson
Linda Thompson
Lewis Thompson
Clata Thompson
Randall Tilley
Stefanie Tilley
Bryan Todd for the Estate of Hobert Todd, Deceased
Brandcin Turpin
Ernie Turpin
Benjamin West
Brittanie West
David West
Sharron West
Brian Weiford
Robbie Weiford
Edwinna Whitsel
David Whitsel
Patrick Wood for the Estate of Polly Woods, Deceased
Alex Wright
Kenneth Wright
Martha Wright
William Yates
Jacky Yates


                                             4
                         CIVICOVER SHEET ATTACHMENT B
                     LIST OF ADDITIONAL NAMED ATTORNEYS
                FOR DEF'ENDANT  JACOBS ENGINEERING GROUP,INC.


J. Isaac Sanders
Neal & Harwell, PLC
1201 Demonbreun Street
Suite 1000
Nashville, TN 37203

Marie T. Scott
Neal & Harwell, PLC
I202Demonbreun Street
Suite 1000
Nashville, TN 37203

S. Joseph Welbom
Smith Cashion & Orr, PLC
231 Third Avenue North
Nashville, TN 37201

Joshua   K. Chesser
Smith Cashion & On, PLC
231 Third Avenue North
Nashville, TN 37201
